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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA


 ROOSEVELT BRADLEY,                                        Civil Action No. 2:24-cv-154

                        Plaintiff,                         COMPLAINT FOR DECLARATORY
                                                           AND PROSPECTIVE INJUNCTIVE
          v.                                               RELIEF

 CAFE FONTE COFFEE COMPANY,

                        Defendant.


  COMPLAINT FOR DECLARATORY AND PROSPECTIVE INJUNCTIVE RELIEF

         ROOSEVELT BRADLEY (“Plaintiff”), by and through undersigned counsel, seeks a

permanent injunction requiring a change in CAFE FONTE COFFEE COMPANY’s (“Fonte

Coffee” or “Defendant”) corporate policies to cause its digital properties to become, and remain,

accessible to individuals with visual disabilities. In support thereof, Plaintiff respectfully asserts

as follows:

                                        INTRODUCTION

         1.    This action arises from Defendant’s failure to make its digital properties accessible

to legally blind individuals, which violates the effective communication and equal access

requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

12189.

         2.    It is estimated that 2.3 percent of the American population lives with some sort of

visual disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

American Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute (YTI),

available at https://www.disabilitystatistics.org/acs/1(last accessed May 3, 2024.)




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        3.      For this significant portion of Americans, accessing digital platforms, mobile

applications, and other information via their computers and smartphones has become critical,

especially in the post-pandemic era. Since the pandemic, U.S. e-commerce has continued to grow,

with 12 million new users choosing to shop online since 2020.1 According to a recent study, e-

commerce increased by 25% from $516 billion (11.1% of total retail sales) to $644 billion (14.2%

of total retail sales).2 This underscores the importance of access to online retailers.

        4.      During these challenging times, disabled individuals rely heavily on acquiring

goods and services from the internet. With more businesses choosing to market their goods and

services on their online platform, access to the website is vital. Sir Tim Berners-Lee, the founder

of the World Wide Web, wrote, “The power of WWW is in its universality. Access by everyone

regardless of disability is an essential aspect.”3

        5.      At the same time, the share of Americans who own smartphones has climbed from

just 35% in 2011 to 81% in 2019—amounting to more than 265 million people in the United States.

See    U.S.    Census     Bureau,     U.S    and         World   Population   Clock,      available   at

https://www.census.gov/popclock/ (last accessed May 3, 2024.) (U.S. population on June 12, 2019

was 325.4 million).

        6.      In this climate, it is especially important to consider factors that can facilitate or

impede technology adoption and use by people with disabilities. National Council on Disability,




1
   See Statista, Number of users of e-commerce in the U.S. 2018-2027, available at
https://www.statista.com/statistics/273957/number-of-digital-buyers-in-the-united-states/    (last
accessed May 3, 2024.)
2
  See National Library of Medicine, Online shopping continuance after COVID-19, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9379614/ (last accessed May 3, 2024.)
3
  See Forbes, Covid Reminds Us That Web Accessibility Helps All Users, Not Just The Disabled,
available at https://www.forbes.com/sites/gusalexiou/2020/08/23/covid-reminds-us-that-web-
accessibility-helps-all-users-not-just-the-disabled/?sh=6b67ed7a6df1 (last accessed May 3, 2024.)
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National     Disability   Policy:       A    Progress    Report     (Oct.     7,    2016),   available   at

https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last accessed May 3, 2024.)

        7.      When it is properly formatted, digital content is universally accessible to everyone.

But when it is not, ineffective communication results. In those situations, legally blind individuals

must unnecessarily expend additional time and effort to overcome communication barriers sighted

users do not confront. These barriers may require the assistance of third parties or, in some cases,

may deny outright access to the online service. See Kasey Wehrum, Inc., Your Digital Platform is

Scaring      Customers    Away.     5       Easy Ways    to   Fix    It     (Jan.   2014),   available   at

https://www.inc.com/magazine/201312/kasey-wehrum/how-to-get-online-customers-to-

complete-purchase.html (last accessed May 3, 2024.)

        8.      Screen access “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

        The screen reading software uses auditory cues to allow a visually impaired user to
        effectively use digital platforms. For example, when using the visual internet, a
        seeing user learns that a link may be “clicked,” which will bring his to another
        webpage, through visual cues, such as a change in the color of the text (often text
        is turned from black to blue). When the sighted user's cursor hovers over the link,
        it changes from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight impaired individual reaches a link that may be
        “clicked on,” the software reads the link to the user, and after reading the text of
        the link says the word “clickable.”…Through a series of auditory cues read aloud
        by the screen reader, the visually impaired user can navigate a digital platform by
        listening and responding with his keyboard.

Id. at *6-7.4


4
        See American Foundation for the Blind, Screen Readers, available at

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       9.      Unfortunately, here Defendant fails to communicate effectively with Plaintiff

because its digital properties are not properly formatted to allow legally blind users such as

Plaintiff to access its digital content. Accordingly, legally blind customers such as Plaintiff are

deprived from accessing information about Defendant’s products and using its online services, all

of which are readily available to sighted customers.

       10.     The United States Department of Justice Civil Rights Division has provided

“Guidance on Web Accessibility and the ADA.”5 It states in part, “the Department has consistently

taken the position that the ADA’s requirements apply to all the goods, services, privileges, or

activities offered by public accommodations, including those offered on the web.”

       11.     This lawsuit is aimed at providing legally blind users like Mr. Bradley a full and

equal experience.

                                                PARTIES

       12.     Plaintiff Bradley is, and at all times relevant hereto has been, legally blind and is

therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq. Plaintiff has been totally blind since

he was nine years old due to a tumor on his optic nerve. Plaintiff uses an iPhone 12 to navigate the

internet, as well as a Windows personal computer with the JAWS screen-reading application and

a Mac computer with Voiceover. Plaintiff is, and at all times relevant hereto has been, a resident

of Crown Point, Indiana.

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https://www.afb.org/node/16207/screen-readers (last accessed May 3, 2024.) (discussing screen
readers and how they work).
5
    See ADA.Gov, Guidance on Web Accessibility and the ADA, available at
https://www.ada.gov/resources/web-guidance/ (last accessed May 3, 2024.) (“DOJ Guidance”).
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       13.      Defendant is a Washington company with its principal place of business located at

5412 6th Avenue South, Seattle, Washington 98108. Defendant is a leader in the design,

development, manufacture, and distribution of coffee, tea, coffee equipment and other related

products under its recognized brand name Fonte Coffee.

       14.      Consumers may purchase Defendant’s products and access other brand-related

content and services at https://www.fontecoffee.com/ (“Digital Platform”), the Digital Platform

Defendant owns, operates, and controls.

       15.      In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Digital Platform

to contact customer service by phone and email, sign up to receive product updates, product news,

and special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions, and more.6

       16.      Defendant is responsible for the policies, practices, and procedures concerning the

Digital Platform’s development and maintenance.

       17.      Because Defendant’s Digital Platform is not and has never been fully accessible,

and because upon information and belief Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its digital properties to become and

remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks prospective injunctive

relief requiring Defendant to:

             a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist in improving the accessibility of its Digital Platform,
                including all third-party content and plug-ins, so the goods and services on the
                Digital Platform may be equally accessed and enjoyed by individuals with vision
                related disabilities;



6
       See, e.g., Defendant’s Home Page, available at https://www.fontecoffee.com/.
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         b) Work with the Web Accessibility Consultant to ensure all employees involved in
            Digital Platform and content development be given web accessibility training on a
            biennial basis, including onsite training to create accessible content at the design
            and development stages;

         c) Work with the Web Accessibility Consultant to perform an automated accessibility
            audit on a periodic basis to evaluate whether Defendant’s Digital Platform may be
            equally accessed and enjoyed by individuals with vision related disabilities on an
            ongoing basis;

         d) Work with the Web Accessibility Consultant to perform end-user
            accessibility/usability testing on at least a quarterly basis with said testing to be
            performed by humans who are blind or have low vision, or who have training and
            experience in the manner in which persons who are blind use a screen reader to
            navigate, browse, and conduct business on Digital Platforms, in addition to the
            testing, if applicable, that is performed using semi-automated tools;

         e) Incorporate all of the Web Accessibility Consultant’s recommendations within
            sixty (60) days of receiving the recommendations;

         f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
            that will be posted on its Digital Platform, along with an e-mail address, instant
            messenger, and toll-free phone number to report accessibility-related problems;

         g) Directly link from the footer on each page of its Digital Platform, a statement that
            indicates that Defendant is making efforts to maintain and increase the accessibility
            of its Digital Platform to ensure that persons with disabilities have full and equal
            enjoyment of the goods, services, facilities, privileges, advantages, and
            accommodations of the Defendant through the Digital Platform;

         h) Accompany the public policy statement with an accessible means of submitting
            accessibility questions and problems, including an accessible form to submit
            feedback or an email address to contact representatives knowledgeable about the
            Web Accessibility Policy;

         i) Provide a notice, prominently and directly linked from the footer on each page of
            its Digital Platform, soliciting feedback from visitors to the Digital Platform on how
            the accessibility of the Digital Platform can be improved. The link shall provide a
            method to provide feedback, including an accessible form to submit feedback or an
            email address to contact representatives knowledgeable about the Web
            Accessibility Policy;

         j) Provide a copy of the Web Accessibility Policy to all web content personnel,
            contractors responsible for web content, and Client Service Operations call center
            agents (“CSO Personnel”) for the Digital Platform;

         k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
            users with disabilities who encounter difficulties using the Digital Platform.

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                Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
                such users with disabilities within CSO published hours of operation. Defendant
                shall establish procedures for promptly directing requests for assistance to such
                personnel including notifying the public that customer assistance is available to
                users with disabilities and describing the process to obtain that assistance;

             l) Modify existing bug fix policies, practices, and procedures to include the
                elimination of bugs that cause the Digital Platform to be inaccessible to users of
                screen reader technology;

             m) Plaintiff, his counsel, and their experts monitor the Digital Platform for up to two
                years after the Mutually Agreed Upon Consultant validates the Digital Platform is
                free of accessibility errors/violations to ensure Defendant has adopted and
                implemented adequate accessibility policies. To this end, Plaintiff, through his
                counsel and their experts, shall be entitled to consult with the Web Accessibility
                Consultant at their discretion, and to review any written material, including but not
                limited to any recommendations the Digital Platform Accessibility Consultant
                provides Defendant.

       18.      Digital platforms have features and content that are modified on a daily, and in

some instances an hourly, basis, and a one time “fix” to an inaccessible digital platform will not

cause the digital platform to remain accessible without a corresponding change in corporate

policies related to those web-based technologies. To evaluate whether an inaccessible digital

platform has been rendered accessible, and whether corporate policies related to web-based

technologies have been changed in a meaningful manner that will cause the digital platform to

remain accessible, the digital platform must be reviewed on a periodic basis using both automated

accessibility screening tools and end user testing by disabled individuals.

                                  JURISDICTION AND VENUE

       19.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       20.      Defendant participates in the State’s economic life by performing business over the

Internet. Through its Digital Platform, Defendant entered into contracts for the sale of its products

and services with residents of Indiana. These online sales contracts involve, and indeed require,


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Defendant’s knowing and repeated transmission of computer files over the Internet. See Hetz v.

Aurora Med. Ctr. of Manitowoc Cnty., No. 06-C-636, 2007 U.S. Dist. LEXIS 44115, at *6 (E.D.

Wis. June 18, 2007).

        21.     Plaintiff was injured when he attempted to access Defendant’s Digital Platform

from his home in this District in an effort to shop for Defendant’s products but encountered barriers

that denied him full and equal access to Defendant’s online goods, content, and services. Plaintiff

is an avid coffee drinker and attempted to purchase the “F2” coffee. Unfortunately, he was unable

to complete his purchase due to the accessibility barriers that exist on Defendant’s Digital

Platform.

        22.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

occurred.

                           FACTS APPLICABLE TO ALL CLAIMS

        23.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, digital platform developers and web content developers often

implement digital technologies without regard to whether those technologies can be accessed by

individuals with disabilities. This is notwithstanding the fact that accessible technology is both

readily available and cost effective.

                             DEFENDANT’S ONLINE CONTENT

        24.     Defendant’s Digital Platform allows consumers to research and participate in

Defendant’s services and products from the comfort and convenience of their own homes.

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       25.     The Digital Platform also enables consumers to contact customer service by phone

and email, sign up to receive product updates, product news, and special promotions, review

important legal notices like Defendant’s Privacy Policy and Terms and Conditions, and more.

                                    HARM TO PLAINTIFF
       26.     Plaintiff attempted to access the Digital Platform from his home in Crown Point,

Indiana to purchase the “F2” coffee. Unfortunately, because of Defendant’s failure to build the

Digital Platform in a manner that is compatible with screen access programs, Plaintiff is unable to

understand, and thus is denied the benefit of, much of the content and services he wishes to access

on the Digital Platform. The following are illustrative (but, importantly, not exhaustive) examples

of a few of the accessibility barriers observed on the Digital Platform:

               a.      The homepage of Defendant’s Digital Platform contains several unlabeled

or mislabeled elements. For example, when the screen-reader focus arrives on the “Account” link,

it is simply announced as “link.” Furthermore, when the screen-reader focus arrives on the “Cart”

button, there is an announcement of “(current number of items in the cart) button, end, banner.”

For example, if there are two items in the cart, the announcement would be “2 button, end, banner.”

Additionally, there are several hidden elements that receive focus and are announced as incoherent

strings of letters and numbers. Lastly, there are “Plus” and “Minus” buttons displayed on product

pages which are used to increase or decrease the quantity of the product. However, when the

screen-reader focus arrives on the buttons, they are announced simply as “image.” The lack of

descriptive labels prevents the screen-reader user from successfully navigating and comprehending

Defendant’s Digital Platform.

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                b.     A promotional popup is displayed on the homepage of Defendant’s Digital

 Platform which reads “Unlock 10% Off Your Order” when the user registers for Defendant’s email

 list. However, this popup is not accessible to screen-reader users. For example, when the popup is

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 displayed, it does not receive the screen-reader focus and the content of the popup is not announced

 to the screen-reader user. Instead, the screen-reader focus remains on the underlying screen. This

 prevents the screen-reader user from learning about and ultimately redeeming this valuable

 promotional offer.




                c.      Menus from various locations are available to view on Defendant’s Digital

 Platform. However, not all of the menus are accessible to screen-reader users. For example, if a

 screen-reader user selects the menu for the “Fonte Seattle” location, a popup is displayed which

 shows the menu as an image with embedded text. Unfortunately, the text does not receive the

 screen-reader focus and the content is not announced to the screen-reader user. Instead, the screen-

 reader focus moves to the separator lines between the pages, which are then announced as

 “separator dimmed.” This prevents the screen-reader user from understanding the information

 presented in the menu.

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        27.     These barriers, and others, deny Plaintiff full and equal access to all of the services

 the Digital Platform offers, and now deter him from attempting to use the Digital Platform to buy

 Defendant’s goods and services. Still, Plaintiff intends to attempt to access the Digital Platform in

 the future to purchase the products and services the Digital Platform offers, and/or to test the

 Digital Platform for compliance with the ADA.

        28.     If the Digital Platform was accessible, i.e. if Defendant removed the access barriers,

 Plaintiff could independently research and purchase Defendant’s products and access its other

 online content and services.

        29.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

 removing these existing access barriers. Removal of the barriers identified above is readily

 achievable and may be carried out without much difficulty or expense.

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        30.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

 by Defendant’s failure to provide its online content and services in a manner that is compatible

 with screen-reader technology.

                                  SUBSTANTIVE VIOLATIONS

                                             COUNT I

                          Title III of the ADA, 42 U.S.C. § 12181 et seq.

         31.    The assertions contained in the previous paragraphs are incorporated by reference.

         32.    Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

 any place of public accommodation.

         33.    Defendant is bound by the regulations implementing Title III of the ADA, which

 require that places of public accommodation ensure effective communication to individuals with

 disabilities. 28 C.F.R. § 303(c). See also DOJ Guidance (stating “[s]ince 1996, the Department of

 Justice has consistently taken the position that the ADA applies to web content.”)

         34.    Plaintiff is legally blind and therefore an individual with a disability under the

 ADA.

         35.    Defendant’s Digital Platform is a place of public accommodation under the ADA

 because it is a “sales or rental establishment” and/or “other service establishment.” 42 U.S.C. §

 12181(7)(E), (F).

         36.    Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

 any place of public accommodation. 42 U.S.C. § 12182; 28 C.F.R. §36.201.

         37.    Defendant owns, operates, or maintains the Digital Platform.



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         38.     The Digital Platform is a service, facility, privilege, advantage, or accommodation

 of Defendant.

         39.     Title III of the ADA guarantees that individuals with disabilities shall have full and

 equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

 any place of public accommodation. See also DOJ Guidance (explaining “[b]usinesses open to the

 public must take steps to provide appropriate communication aids and services (often called

 “auxiliary aids and services”) where necessary to make sure they effectively communicate with

 individuals with disabilities.”)

         40.     Specifically, “[e]ven though businesses and state and local governments have

 flexibility in how they comply with the ADA’s general requirements of nondiscrimination and

 effective communication, they still must ensure that the programs, services, and goods that they

 provide to the public—including those provided online—are accessible to people with

 disabilities.” DOJ Guidance.

                      PRAYER FOR DECLARATORY JUDGMENT AND
                          PROSPECTIVE INJUNCTIVE RELIEF

        WHEREFORE, Plaintiff prays for:

        (A)      A Declaratory Judgment that at the commencement of this action Defendant was in

 violation of the specific requirements of Title III of the ADA described above, and the relevant

 implementing regulations of the ADA, in that Defendant took no action that was reasonably

 calculated to ensure that its Digital Platform was fully accessible to, and independently usable by,

 individuals with visual disabilities;

        (B)      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

 36.504(a) which directs Defendant to take all steps necessary to bring its Digital Platform into full

 compliance with the requirements set forth in the ADA, and its implementing regulations, so that

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 its Digital Platform is fully accessible to, and independently usable by, blind individuals, and

 which further directs that the Court shall retain jurisdiction for a period to be determined to ensure

 that Defendant has adopted and is following an institutional policy that will in fact cause it to

 remain fully in compliance with the law, including the specific prospective injunctive relief

 described more fully in paragraph 17 above.

        (C)     Payment of costs of suit;

        (D)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

 § 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

 Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

 Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

 Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

 Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

 include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

 Now, Inc. v. LAX World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

        (E)     Payment of nominal damages;

        (F)     The provision of whatever other relief the Court deems just, equitable and

 appropriate; and

        (G)     An Order retaining jurisdiction over this case until Defendant has complied with

 the Court’s Orders in regard to the prospective injunctive relief described at paragraph 17 above.

        Dated: May 3, 2024                          Respectfully Submitted,

                                                    /s/ Benjamin J. Sweet
                                                    Benjamin J. Sweet (PA Bar No. 87338)
                                                    ben@nshmlaw.com

                                                    Signatures continued below.



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